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                       IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK                                       5/10/21



 MELISSA FERRICK, et al.,                           No. 1:16-cv-08412 (AJN)

                       Plaintiffs,                  [PROPOSED] ORDER GRANTING
                                                    DEFENDANT SPOTIFY USA INC.’S
                vs.                                 UNOPPOSED MOTION TO MODIFY
                                                    FINAL JUDGMENT
 SPOTIFY USA INC., et al.,

                       Defendants.



       WHEREAS, the Court has considered Defendant Spotify USA Inc.’s unopposed motion,

pursuant to Fed. R. Civ. P. 60(b)(5), to modify the Corrected Order and Final Judgment Approving

Class Action Settlement, dated May 22, 2018 (Dkt. No. 420);

       WHEREAS, the Court has previously entered stipulated orders modifying the settlement

agreement in order to grant class members additional time to correct deficient claim forms (Dkt.

No. 483) and extend certain deadlines for the settlement administrator (Dkt. No. 498); and

       WHEREAS, the Court holds that, in light of the subsequent enactment of the Music

Modernization Act, Pub. L. No. 115-264, 132 Stat. 3675 (2018) (codified at 17 U.S.C. § 115),

there are sufficient changed circumstances to justify the proposed modifications to the settlement

agreement and such modifications will not prejudice the rights of class members;

       NOW, THEREFORE, IT IS HEREBY ORDERED:

       1.      Paragraph 4.3 of the settlement agreement is amended to add a new subparagraph

4.3(s), which states: “Spotify may satisfy its obligations under the Future Royalty Payments

Program for usage for the period between the Preliminary Approval Date and December 31, 2020

by accruing and paying royalties to the mechanical licensing collective (“MLC”) recognized

pursuant to the Music Modernization Act, 17 U.S.C. § 115(d). If Spotify does so, it will not be

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obligated to pay duplicative royalties for a particular Claimed Musical Work and accordingly need

not pay royalties for a Claimed Musical Work under both the Future Royalty Payments Program

and to the MLC. If, however, Spotify pays to the MLC mechanical royalties that are owed to an

Identified Royalty Claimant with respect to a track embodying a Claimed Musical Work but the

Identified Royalty Claimant does not receive mechanical royalties from the MLC for the period

between the Preliminary Approval Date and December 31, 2020 because the MLC distributed

those royalties to other copyright owners pursuant to 17 U.S.C. § 115(d)(3)(J), that Identified

Royalty Claimant shall inform the Settlement Administrator by using the Future Royalty Payments

Program Website to provide: (i) the Claimed Musical Work; (ii) the Spotify track identifier for all

tracks embodying the Claimed Musical Work; and (iii) the periods for which the MLC has failed

to remit royalties. On a quarterly basis, starting no sooner than the first quarter after the MLC

finishes paying royalties to copyright owners for the period between the Preliminary Approval

Date and December 31, 2020 (including the redistribution pursuant to 17 U.S.C. § 115(d)(3)(J)),

the Settlement Administrator shall inform Spotify of these Identified Royalty Claimants and the

information they provide. Within ninety (90) days of receiving that quarterly list, Spotify shall

remit payment to each such Identified Royalty Claimant who is not subject to an unresolved

Royalty Ownership Dispute or an unresolved dispute under 17 U.S.C. § 115(d)(3)(K) of any

mechanical royalties that the MLC failed to remit to the Identified Royalty Claimant because those

royalties were distributed under 17 U.S.C. § 115(d)(3)(J) but would have been required to be paid

under the Future Royalty Payments Program. In the event that the MLC later pays these missing

royalties to the Identified Royalty Claimant, the Claimant must promptly reimburse Spotify for

any duplicative royalties paid to that Identified Royalty Claimant. In addition, Spotify shall have

no obligation to pay royalties to an Identified Royalty Claimant with respect to usage between the

Preliminary Approval Date and December 31, 2020 of any Claimed Musical Work not claimed

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until after January 1, 2021 until after the MLC has finished paying royalties to copyright owners

for that same period (including the distribution pursuant to 17 U.S.C. § 115(d)(3)(J)).”

       2.      Paragraph 4.4 of the settlement agreement is amended to add new subparagraph

4.4(e), which shall state: “If a dispute regarding mechanical royalties for Claimed Musical works

is subject to the procedures prescribed under 17 U.S.C. § 115(d)(3)(K), those procedures shall

govern the resolution of that dispute rather than the procedures of paragraph 4.”

       3.      Subparagraph 4.3(c) of the settlement agreement is amended to add the following

two sentences at the end: “Because the mechanical licensing collective (“MLC”) has established a

process for copyright owners to claim or identify their musical works in order to obtain royalties

from digital music providers seeking a blanket license under 17 U.S.C. § 115(d), Spotify shall

alter (or direct the Settlement Administrator to alter) the Future Royalty Payments Program

Website to recommend that class members use the MLC’s process in order to obtain all royalties

that have not been distributed to other copyright owners pursuant to 17 U.S.C. § 115(d)(3)(J) and,

to the extent that any distributed royalties are owed under this settlement, use the Future Royalty

Payments Program Website to submit a claim for them. The statement to be added to the Future

Royalty Payments Program Website shall inform class members that (i) although class members

may continue to claim works using the Future Royalty Payments Program Website, doing so is no

longer necessary if the class member instead claims their works through the MLC’s claiming

process, with a link to the MLC’s claiming portal; (ii) claiming works through the MLC’s portal

is sufficient to obtain mechanical royalties from all digital music providers, including Spotify; (iii)

class members who fail to claim their works through the MLC’s portal cannot be guaranteed that

the MLC will pay them for usage on Spotify that takes place after the January 1, 2021 blanket

license date; (iv) class members who fail to claim their works through the MLC’s portal may be

missing opportunities to collect royalties for streaming by all providers, including Spotify, for

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works that were added to the service after the class period; (v) class members who use the MLC’s

portal to claim their works need not also submit a Spotify-only claim through the Future Royalty

Payments Program Website; (vi) the royalties the class member would receive from a claim filed

through the MLC portal would include both ongoing royalties as well as royalties dating back to

when the MLC last redistributed royalties for unmatched works to other copyright owners; and

(vii) class members who have waited to claim their works until after the MLC has distributed

historical royalties for unmatched works pursuant to 17 U.S.C. § 115(d)(3)(J) can still obtain

royalties from Spotify for the period between the Preliminary Approval Date and December 31,

2020 by submitting a claim using the Future Royalty Payments Program Website. Spotify also

may alter (or direct the Settlement Administrator to alter) the Future Royalty Payments Program

Website to require Identified Royalty Claimants to submit any additional information needed to

determine whether they are owed royalties under the settlement that they will not receive from the

MLC and the amount of any such royalties. To the extent practicable, Spotify may share

information about Identified Royalty Claimants and their Claimed Musical Works with the MLC,

and may register Identified Royalty Claimants with the MLC if needed to facilitate payment of

royalties by the MLC to Identified Royalty Claimants. Spotify may alter (or direct the Settlement

Administrator to alter) the Future Royalty Payments Program Website to advise that, if the

Identified Royalty Claimant has registered with the MLC, properly followed the MLC’s

procedures for claiming musical works, and such claims are not subject to any conflict, the

Identified Royalty Claimant may communicate with a Spotify-appointed special liaison to assist

with pursuing the payment of royalty claims with the MLC.”

       4.      Subparagraph 4.3(d) of the settlement agreement is amended to add the following

sentence at the end: “Alternatively, the instructions that Spotify must maintain on its website for




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how Settlement Class Members may submit additional claims may instead consist of instructions

on how they may claim works with the MLC.”



       It is so ordered.


             May 10, 2021
   Dated:                                            ________________________________

            New York, New York                       JUDGE ALISON J. NATHAN
                                                     United States District Judge




                                                             In reaching this determination, the
                                                             Court has also considered Class
                                                             Counsel's submission as well as
                                                             Spotify's supplemental submission.
                                                             Dkt. Nos. 505, 506. SO ORDERED.




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